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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                                      PROPOSED ORDER

      Upon Consideration of the Plaintiff Kimberly Kubas’s Consent Motion to Modify Pretrial
                    24th
Deadlines on this _________          October
                            day of _____________________ 2022, it

is hereby ORDERED that the Motion is GRANTED; the pretrial deadlines are as follows:

                     Deadline

                 February 27, 2023      Deadline for Joint Proposed Pretrial
                                        Order

                 February 27, 2023      Deadline for Proposed Jury Instructions,
                                        Voir Dire, and Special
                                        Verdict Form

                 February 27, 2023      Deadline for Motions in Limine and any
                                        legal trial memoranda
                                        regarding the claims, at the option of
                                        counsel, and any limitation of
                                        evidence, if necessary

                   March 6, 2023        Deadline for any Responses to Motions in
                                        Limine

                  March 13, 2023        Deadline for any Replies with respect to
                                        Motions in Limine


                  March 20, 2023      Deadline for delivering one copy of all
                                      trial exhibits in three-ring                 SO ORDERED.
                                      binder(s) to Judge Maddox’s chambers
                                      (address listed above)                       ____________________
              March 27, 2023, 10:00am Pretrial conference telephone call           Matthew J. Maddox
                                                                                   U.S. Magistrate Judge
